Case: 1:18-Cv-05369 Document #: 9 Filed: 08/28/18 Page 1 of 2 Page|D #:294

AO 440 (Rev. 05/00) Summons in a Civil Action

UNITED STATES DISTRICT CoURT

NORTHERN DISTRICT OF lLL]NOIS

UBIQUITI NETWORKS, INC.

V.

CAMBlUl\/[ NETW()RKS, lNC.; CAMBIUM NETWORKS,
LTD.; BLIP NETWORKS, LLC; WlNNCOM
TECHNOLOGHBJNCQSAKD)AHNED;ANDIHNHTRY
MOISEEV

TOI (Name and address of Defendant)

Cambiurn Networks, Ltd
Registered oflice address

Unit B2 Linhay Business Park
Eastem Road`

Ashburton, Newton Abbot
Devon, TQ13 7UP
ENGLAND

SUMMONS IN A CIVIL CASE

CASE NUMBER¢ l:lS-CV-05369

AssIGNED JUDGE: .
Honorable Gary Femerman

DEsIGNATED
MAGISTRATE JUDGE: Honorable Michael T. Mason

YOU ARE HEREBY SUMlVIONED and required to serve upon PLA]NTIFF’S ATTORNEY (name and address)

Elizabeth B. Herrington
l\/lorgan, Lewis & Bockius LLP
77 W. Wacker Drive

Chicago, IL 60601

(312) 324-1000

Zl

an answer to the complaint which is herewith served upon you, days after service of this
summons upon you, exclusive of the day of service. Ifyou fail to do so, judgment by default Will be taken against you for
the relief demanded in the complaintl You must also file your answer with the Clerk of this Court within a reasonable

period of time after service.

THOMA G. BRUTON, CLERK

Q£»_x

(By) DEPUTY CLERK

 

August l(), 2018

 

 

DATE

 

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AO 440 (Rev. 05/001 Summons in a Civil Action

 

 

 

 

RETURN OF SERVICE
DATE
Service of the Summons and complaint was made by me(‘) 15 August 2018
NAME oF sERvER (PRJNT) TI'TLE
JESSICA GORDON ASSOCIATE, MORGAN LEWIS & BOCKIUS UK LLP

 

Check one box below to indicate appropriate method of service

 

[:1 Served personally upon the defendant Place where served:

 

 

|:l Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable age and
discretion then residing therein

Name of person with whom the summons and complaint Were left:

 

l:\ Returned unexecuted:

 

 

 

§§ Other (specify): l am an English~qualit`ied solicitor (SRA no. 594773). On Tuesday 14 August 2018, pursuant to Article 10 of the Hague
Service Convention 1965, I sent via registered mail the Summons and accompanying documents in Case No.l:lS-CV-05369 (annexed hereto) to
the Defendan Cambium Networks Ltd at Unit B2 Linha Business Park Eastern R Ashburton Newton Abbo Devon T 13 En land. At
9:45arn on Wednesday 15 August 2018 the documents Were delivered and signed for by N.Reed. The Proof of Delivery is annexed hereto. The
documents delivered comprised a cover letter from Morgan LeWis & Bockius UK LLP dated 14 August 2018 to the Defendant enclosing (l)
Complaint filed 7 August 2018 With Exhibits A to F; (2) Notice Of MIDP filed 8 August 2018; (3) M]DP Standing Order; (4) MlDPP Model

Checklist_; (5) Summons dated 10 August 2018; and (6) Model Form Summary and Warning - Annex 1 of the Hague Service Convention.

 

 

 

STATEMENT OF SERVICE FEES

 

TRAVEL SERVICES TOTAL

 

 

 

DECLARATION OF SERVER

 

l declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Return of Service and Statement of Service Fees is true and correct.

amuer en 17 August 2018 j%\ 1050\

Date Signalure o Sevr\’€r

Morg Lewis & Bockius UK LLP
Condor House, 5-10 St Paul's Churchyard
London EC4M SAL, ENGLAND

Address of Server

 

 

 

(l) As to who may serve a summons see Rule 4 of the F ederal Rules of Civil Procedure.

 

